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        20-15029
        C.D. No. 2:14-cv-00595-WBS-EFB

        California Department of Toxic Substances Control v. Jim Dobbas, Inc.




11/9/2021                         9:00 a.m.                           1




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        /s/ Nicholas M. Gedo                                                      10/22/21
